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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 NEW ALBANY DIVISION

   UNITED STATES OF AMERICA,                          )
                                                      )
                               Plaintiff,             )
                                                      )
                        v.                            )      No. 4:14-cr-00031-TWP-VTW
                                                      )
   MIGUEL MOMPIE (07),                                )
                                                      )
                               Defendant.             )

                     ENTRY ON DEFENDANT’S MOTION IN LIMINE

        This matter is before the Court on Defendant Miguel Mompie’s (“Mompie”) Motion in

 Limine to exclude certain evidence and testimony at trial (Filing No. 569). Mompie is charged

 with violating 18 U.S.C. § 659 (possession of goods stolen from interstate commerce), 18 U.S.C.

 § 2314 (interstate transportation of stolen property), and 18 U.S.C. § 371 (conspiracy to possess

 goods valued in excess of $1,000.00 stolen from interstate shipments). A jury trial is scheduled to

 begin on January 30, 2017. Mompie asks the Court to exclude evidence regarding the common

 modus operandi of cargo theft rings and evidence regarding uncharged and unrelated alleged

 criminal conduct of Mompie. Plaintiff United States of America (the “Government”) filed a

 response in opposition to the Motion in Limine. For the following reasons, Mompie’s Motion in

 Limine is granted in part and denied in part.

        The Court excludes evidence on a motion in limine only if the evidence clearly is not

 admissible for any purpose. See Hawthorne Partners v. AT&T Technologies, Inc., 831 F. Supp.

 1398, 1400 (N.D. Ill. 1993). Unless evidence meets this exacting standard, evidentiary rulings

 must be deferred until trial so questions of foundation, relevancy, and prejudice may be resolved

 in context. Id. at 1400–01. Moreover, denial of a motion in limine does not necessarily mean that
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 all evidence contemplated by the motion is admissible; rather, it only means that, at the pretrial

 stage, the Court is unable to determine whether the evidence should be excluded. Id. at 1401.

        Mompie argues that the Government should not be permitted to offer at trial any testimony

 or evidence regarding the common modus operandi of cargo theft rings in the Louisville, Kentucky

 area or throughout the country as well as the common modus operandi of particular ethic groups

 operating cargo theft rings. Mompie asserts that the admission of such testimony is irrelevant to

 the jury’s determination of Mompie’s guilt and thus should be excluded pursuant to Federal Rule

 of Evidence 401. Without explanation or analysis, Mompie also asserts that “[e]ven if relevant,

 said testimony’s probative value is substantially outweighed by the danger of undue prejudice and

 potentially misleading the jury. FRE 403.” (Filing No. 569 at 2.)

        The Government responds that Mompie failed to cite any authority supporting his claim

 that common modus operandi evidence is irrelevant, unduly prejudicial, or potentially misleading.

 The Government asserts that Mompie did not cite any supporting authority because there is none.

 The Government relies on United States v. Long and asserts that “experts may testify regarding

 the modus operandi of a certain category of criminals where those criminals’ behavior is not

 ordinarily familiar to the average layperson, as in the case of the modus operandi of persons

 involved in illegal drug trafficking or prostitution.” United States v. Long, 328 F.3d 655, 666 (D.C.

 Cir. 2003). The Government explains that the Seventh Circuit “has recognized the value of expert

 testimony in explaining a complicated criminal methodology that may look innocent on the surface

 but is not as innocent as it appears. Such modus operandi evidence has proved useful in drug

 trafficking cases.” United States v. Romero, 189 F.3d 576, 584 (7th Cir. 1999). Finally, the

 Government asserts, “Another valid purpose for this evidence is to explain how the criminal




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 enterprise developed, how the conspiracy operates and to assist the jury in understanding the

 relationship of trust between the coconspirators.” (Filing No. 574 at 2.)

        The Government’s argument is well-taken that common modus operandi evidence is

 relevant, helpful to the jury, and not unduly prejudicial. The Government’s cited legal authority

 further supports its argument for allowing the evidence. Because of the high standard for excluding

 evidence on a motion in limine (i.e. the evidence clearly is not admissible for any purpose), the

 Court DENIES Mompie’s Motion to exclude evidence regarding the common modus operandi of

 cargo theft rings.

        Next, Mompie asks the Court to exclude evidence regarding uncharged and unrelated

 alleged criminal conduct of Mompie. He notes that the Government recently disclosed a report of

 cooperating co-defendant Ritzy Robert Montaner (“Montaner”), who told Government

 interviewers that Mompie and co-defendant Orlis Machado “at one time had been involved in

 selling drugs together,” and that Mompie “regularly talked about how he and Machado were

 involved in stealing loads” and they “had stolen a binocular and spotting scope load.” (Filing No.

 569 at 2.)

        Mompie explains that Federal Rule of Evidence 404(b) prohibits the admission of evidence

 of a crime, wrong, or other act to show that on a particular occasion the person acted in accordance

 with the particular character trait. Mompie asserts that the statements of the cooperating co-

 defendant should be excluded from introduction at trial because they have no purpose other than

 to show that Mompie is a person of bad character or to allege specific criminal activity for which

 Mompie is not currently charged.

        The Government responds that it does not intend to elicit from Montaner any testimony

 about specific acts of criminal conduct by Mompie not charged in the Second Superseding



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 Indictment during its case in chief. However, the Government asserts, statements made by

 Mompie in Montaner’s presence in which Mompie admits his overall participation in the cargo

 theft conspiracy do not violate the restrictions of Rule 404(b) and are admissible.

        Rule 404(b)(2) allows for “permitted uses” of evidence of a crime, wrong, or other act “for

 another purpose, such as proving motive, opportunity, intent, preparation, plan, knowledge,

 identity, absence of mistake, or lack of accident.” Montaner’s statement that Mompie “at one time

 had been involved in selling drugs” does not fit into the categories of “permitted uses” under Rule

 404(b)(2) and does not appear to be relevant to the charges of possession of goods stolen from

 interstate commerce, interstate transportation of stolen property, and conspiracy. Therefore, the

 Court GRANTS Mompie’s Motion to exclude Montaner’s statement that Mompie “at one time

 had been involved in selling drugs.”

        Montaner’s statement that Mompie “regularly talked about how he and Machado were

 involved in stealing loads,” and they “had stolen a binocular and spotting scope load,” may fit into

 the categories of “permitted uses” under Rule 404(b)(2) and appears to be relevant to the charges

 pending herein. Therefore, the Court DENIES Mompie’s Motion to exclude these statements from

 Montaner.

        An order in limine is not a final, appealable order. If the Government or Mompie believe

 that evidence excluded by this Order becomes relevant or otherwise admissible during the course

 of the trial, counsel may approach the bench and request a hearing outside the presence of the jury.

 For the foregoing reasons, the Court grants in part and denies in part Mompie’s Motion in

 Limine (Filing No. 569). The Government may not elicit testimony from Montaner that Mompie

 “at one time had been involved in selling drugs.” In all other respects, Mompie’s Motion in Limine

 is denied.



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        SO ORDERED.



        Date: 1/9/2017



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